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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK


UNITED STATES OF AMERICA
                                                                  DECISION AND ORDER
               v.
                                                                          14-CR-134A
SHAWNTORRIAN TRAVIS and
ANTWON STEWARD,

                                      Defendants.


I) INTRODUCTION
       On July 31 and August 5, 2014, the Court held detention hearings for

defendants Shawntorrian Travis (“Travis”) and Antwon Steward (“Steward”)

under 18 U.S.C. § 3142.1 In their respective hearings, Travis and Steward made

proffers regarding the strength of the evidence, their criminal histories, and their

willingness to post bail with the help of family members. The Government

opposed release for each defendant.

       For the reasons below, the Court grants release for each defendant as

specified below.

II) BACKGROUND
       This case concerns allegations that Travis and Steward bought and sold

cocaine and cocaine base as members of the Scheule Boys street gang in the


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  There is no significance to the pairing of these two particular defendants in this case. The
detention hearings for these two defendants simply happened to be scheduled at the same
time.
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City of Buffalo. In the indictment (Dkt. No. 53), the Government charged both

defendants with conspiring “to possess with intent to distribute, and to distribute,

5 kilograms or more of a mixture and substance containing cocaine and 28

grams or more of a mixture and substance containing cocaine base” (id. at 2) in

violation of 21 U.S.C. § 846. The pre-indictment complaint (Dkt. No. 1) provided

more factual information specific to each defendant.

      A)        Factual allegations regarding Travis
      The complaint makes several references to Travis regarding drugs and

money laundering. Paragraph 8 of the complaint mentions that Travis and others

supplied each other with cocaine. The paragraph mentions generally that

“members and associates of the Schuele Boys” committed acts of violence such

as shootings but without assigning those shootings to any particular defendant.

Paragraph 18 mentions, without further detail, that an informant positively

identified an image of Travis and that the informant knew Travis’s brother.

Paragraph 21 mentions that an informant observed Travis and others at a car

dealership in Buffalo called Gone Auto Sales. Paragraph 22 relays the

Government’s belief that Travis co-owns and helps operate Gone Auto Sales and

uses the dealership to launder drug proceeds. Paragraph 30 states that Travis

has supplied some of his co-defendants with narcotics. Paragraphs 31–33

describe how Travis frequently changed his telephone number to avoid detection


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by law enforcement; these paragraphs also describe certain intercepted

communications in which Travis and others arranged specific drug transactions.

      B)        Factual allegations regarding Steward
      The complaint makes several references to Steward as well. Paragraph 8

includes Steward in the general allegation about drug transactions and acts of

violence. Paragraph 29 states that Steward and others often drove co-defendant

Michael Robertson (“Robertson”) to drug transactions because Robertson does

not have a valid driver’s license. Paragraphs 34–37 mention that Steward is

Robertson’s brother and then recount certain intercepted communications in

which Steward and others arranged specific drug transactions. Paragraph 42

states without further detail that Steward was involved in drug trafficking with

certain other co-defendants. Paragraphs 65–66 recount certain other intercepted

communications regarding arrangements for drug transactions.

      C)        Travis’s argument for bail
      Travis makes several arguments for bail based on the factors that the

Court can consider under 18 U.S.C. § 3142(g). Travis downplays the allegations

of the complaint by noting that his name appears in only a few out of 89 total

paragraphs. The Government allegedly intercepted thousands of conversations,

yet the complaint links Travis to only a few conversations that the Government

considered relevant. The allegations of the complaint, according to Travis,


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mention no consummated transactions, no conduct involving guns, and no acts

of violence. As for information from his bail report, Travis acknowledges having

three prior convictions locally and in Ohio but counters that he completed his

parole in Ohio without ever absconding. To the extent that Travis’s Ohio

conviction involved a fugitive warrant, Travis explains that he tried to transfer his

parole from Ohio to New York. New York rejected the case, but Travis never

knew about the rejection and resided in New York without incident. Travis also

explains the protection orders in his record by noting that he was one of the

protected people. At his detention hearing, Travis presented family members

who volunteered to help post bail and to house him in a proposed residence.

The United States Probation Office (“USPO”) has found the proposed residence

acceptable if the Court ordered release.

      The Government opposes release for several reasons. The Government

relies on the statutory presumption under 18 U.S.C. § 3142(e)(3) and asserts that

Travis has not rebutted it. The Government argues that Travis faces serious

charges of arranging drug transactions, for which he faces a mandatory minimum

sentence of 10 years and a maximum sentence of life. The Government also

points to Travis’s criminal history, which includes a prior case in federal court in

this District. The Government finally notes that Travis’s protection orders were




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mutual in nature; he and his partner had a domestic dispute and were ordered to

stay away from each other.

      D)        Steward’s argument for bail
      Steward makes similar arguments for bail. Steward contends that the

actual conduct alleged in the complaint about him is ambiguous. Although

Steward’s criminal history includes an arrest while on bail, he downplays his

history by arguing that it consists of only two misdemeanor convictions from over

11 years ago. Steward emphasizes his family ties to the area and has proposed

both a residence and a bail package.

      The Government opposes Steward’s release also. The Government again

relies on the statutory presumption in favor of detention and its interpretation of

Steward’s drug-related communications as described in the complaint. The

Government notes that Steward also faces a mandatory minimum sentence of 10

years with a possible maximum of life.

III) DISCUSSION
      “The Eighth Amendment to the Constitution states that ‘[e]xcessive bail

shall not be required.’ U.S. Const. amend. VIII. Consistent with this prohibition,

18 U.S.C. § 3142(b) requires a court to order the pre-trial release of a defendant

on a personal recognizance bond ‘unless the [court] determines that such

release will not reasonably assure the appearance of the person as required or


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will endanger the safety of any other person or the community.’” U.S. v.

Sabhnani, 493 F.3d 63, 75 (2d Cir. 2007). Statutory factors to be considered

when assessing flight or danger include the nature and circumstances of the

offense charged, the weight of the evidence against the person, the history and

characteristics of the person, and the nature and seriousness of the danger to

any person or the community that would be posed by the person’s release. See

18 U.S.C. § 3142(g).

      With respect to flight risk, “the government carries a dual burden in seeking

pre-trial detention. First, it must establish by a preponderance of the evidence

that the defendant, if released, presents an actual risk of flight. Assuming it

satisfies this burden, the government must then demonstrate by a

preponderance of the evidence that no condition or combination of conditions

could be imposed on the defendant that would reasonably assure his presence in

court.” Sabhnani, 493 F.3d at 75 (citations omitted). “To order detention, the

district court must find, after a hearing, that the government has established the

defendant’s dangerousness by clear and convincing evidence. The rules of

evidence do not apply in a detention hearing. Further, the government may

proceed by proffer.” U.S. v. Ferranti, 66 F.3d 540, 542 (2d Cir. 1995) (citations

omitted).




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      Here, the Court finds that conditions short of detention will reasonably

assure Travis’s appearance as required and will not endanger the safety of any

other person or the community. Travis certainly faces serious charges involving

one or more drug transactions. That said, the Court notes that a 55-page

complaint alleging that an organized street gang trafficked in drugs, guns, and

violence turned into a one-count indictment alleging only a drug conspiracy.

Regardless of whether the change in charges implicates the strength of the

evidence, the case against Travis and Steward certainly has narrowed, at least

for now. Travis’s criminal history, though serious, is somewhat dated. The most

recent conviction is the federal misdemeanor conviction, for which Travis

received only one year of probation. Travis’s other convictions occurred over 11

years ago. With respect to the issue of parole transfer and possible fugitive

status, Travis’s apparent lack of interest in confirming the transfer causes some

concern, but the Court credits as plausible Travis’s explanation related to

bureaucratic confusion. Travis’s family ties to the area also weigh in favor of

release. The Court orders Travis released on the following conditions: 1) a

$100,000 bond secured by $50,000 cash and co-signed by at least one surety of

defendant’s choice who is currently employed and has no criminal history; 2)

home confinement with electronic monitoring at the residence that the USPO has

approved; 3) no contact, however direct or indirect, with any co-defendants,

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alleged co-conspirators, or witnesses to any alleged events; 4) consent to drug

testing on any schedule that the USPO deems appropriate; 5) consent to a

search of the residence at any time; 6) any other conditions that the USPO may

recommend next week; and 7) zero tolerance for any violation of these

conditions.

      For similar reasons, the Court finds that conditions short of detention will

reasonably assure Steward’s appearance as required and will not endanger the

safety of any other person or the community. The complaint makes allegations

about numerous drug transactions and gun-related acts of violence, but for now,

Steward officially faces only one count of a drug conspiracy. Prior to this case,

Steward’s criminal history was over 11 years old and comprised two

misdemeanor convictions. Under these circumstances, and given Steward’s

family ties to the area, the Court orders Stewart released on the following

conditions: 1) a $75,000 bond secured by $35,000 cash and co-signed by at

least one surety of defendant’s choice who is currently employed and has no

criminal history; 2) home confinement with electronic monitoring at the residence

that the USPO has approved; 3) no contact, however direct or indirect, with any

co-defendants, alleged co-conspirators, or witnesses to any alleged events;

4) consent to drug testing on any schedule that the USPO deems appropriate; 5)

consent to a search of the residence at any time; 6) any other conditions that the

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USPO may recommend; and 7) zero tolerance for any violation of these

conditions.

      Despite its willingness to allow Travis and Steward one chance at release,

the Court acknowledges that “the enforcement of all constitutional restraints upon

government in its efforts to administer the criminal law entails risks.” U.S. v.

Gonzales Claudio, 806 F.2d 334, 343 (2d Cir. 1986), superseded in part on other

grounds by Fed. R. Crim P. 5(c). The Court strongly cautions Travis and

Steward to use counseling, the USPO, and their attorneys to avoid any problems

while on release; this Court will not consider pretrial release again if any

violations occur.

IV) CONCLUSION
      For all of the foregoing reasons, the Court orders Travis and Steward

released under the conditions explained above. Both defendants and counsel

must appear on Monday, August 11, 2014 at 2:00 PM for a status conference to

finalize details of their release in accordance with this Decision and Order. The

United States Marshal Service will retain custody of Travis and Steward until

Monday or until all release conditions are finalized, whichever comes later.

      Pursuant to 18 U.S.C. § 3142(h)(2), the Court hereby warns Travis and

Steward that committing any criminal offense while on pretrial release will lead, in

addition to any sentence imposed for any conviction in this case, to an additional


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sentence of as much as 10 years under 18 U.S.C. § 3147. The Court warns

Travis and Steward further that a violation of any condition of release may lead to

an immediate issuance of a warrant for their arrest. Finally, the Court hereby

places Travis and Steward on notice of 18 U.S.C. §§ 1503 (relating to

intimidation of witnesses, jurors, and officers of the court), 1510 (relating to

obstruction of criminal investigations), 1512 (tampering with a witness, victim, or

an informant), and 1513 (retaliating against a witness, victim, or an informant).

      In accordance with 18 U.S.C. § 3142(j), nothing in this Decision and Order

shall be construed as modifying or limiting the presumption of innocence.

      SO ORDERED.
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                                        HONORABLE HUGH B. SCOTT
                                        UNITED STATES MAGISTRATE JUDGE
DATED: August 8, 2014




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